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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

ABG PRIME GROUP, INC., a Michigan
Corporation,

            Plaintiff,
v.

INNOVATIVE SALON PRODUCTS,                 Case No. 2:17-cv-12280-LJM-RSW
INC., d/b/a Loma, a State of Washington
for-profit Corporation, DAVID HANEN,        District Judge Laurie J. Michelson
an individual; ALL ALLIANCE                Magistrate Judge R. Steven Whalen
PRODUCTS, a d/b/a of Dean Prodromitis
or Total Image International;
DEMONSTHENES PRODROMITIS,
a.k.a. Dean Prodromitis; TOTAL IMAGE
INTERNATIONAL, LLC, a Florida
Limited Liability Company,

            Defendants,

and

INNOVATIVE SALON PRODUCTS,
INC., d/b/a LOMA, a State of Washington
for-profit Corporation,

            Counter-plaintiff,
v.

ABG PRIME GROUP, INC., a Michigan
Corporation,

            Counter-defendant.

                                                                               

       STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

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      Plaintiff/Counter-Defendant ABG Prime Group, Inc., Defendant/Counter-

Plaintiff Innovative Salon Products, Inc., and Defendant David Hanen (the “Parties”)

having stipulated to this order, as evidenced by the signatures of their respective

counsel below, in accordance with the settlement agreement dated January 25, 2019

(the “Settlement Agreement”), and the Court being otherwise duly advised;

      IT IS ORDERED that all the above-captioned lawsuits, including all claims

and counterclaims, are hereby dismissed with prejudice, with the Parties waiving

any right to appeal, and with each Party paying its own attorneys’ fees and costs.

      IT IS FURTHER ORDERED that this Court shall retain jurisdiction only to

enforce the terms of the Settlement Agreement.

Date: January 30, 2019                       s/Laurie J. Michelson
                                             United States District Judge



Agreed to by:

/s/ Wade Fink                          /s/ Leigh Taggart
Wade Fink                              Leigh Taggart
Wade Fink Law, P.C.                    Honigman Miller Schwarz & Cohn LLP
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Attorneys for Plaintiff                Attorney for Defendants
ABG Prime Group, Inc.                  Innovative Salon Products, Inc.
                                       and David Hanen




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